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 7                               UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9                                      SACRAMENTO DIVISION

10   CAL-PAC RANCHO CORDOVA, LLC, dba                No. 2:16-CV-02982-TLN-AC
     PARKWEST CORDOVA CASINO;
11   CAPITOL CASINO, INC.; LODI
     CARDROOM, INC. dba PARKWEST
                                                     ORDER GRANTING PLAINTIFFS’
12   CASINO LODI; and ROGELIO’ S, INC.,
                                                     UNOPPOSED MOTION TO MODIFY
                                                     THE AMENDED PRETRIAL
13                        Plaintiffs,
                                                     SCHEDULING ORDER
14                 vs.
                                                     Modified From Submitted Version
15   UNITED STATES DEPARTMENT OF THE
     INTERIOR; RYAN ZINKE, in his official
16   capacity as Secretary of the Interior; and
     MIKE BLACK in his official capacity as
17   Acting Assistant Secretary of the Interior –
     Indian Affairs,
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                   Defendants.
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22          After considering plaintiffs’ unopposed motion to modify the Amended Pretrial

23   Scheduling Order,

24          IT IS HEREBY ORDERED THAT:



     ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO MODIFY THE AMENDED PRETRIAL SCHEDULING ORDER
                                                 1
            Case 2:16-cv-02982-TLN-AC Document 21 Filed 08/17/17 Page 2 of 2


 1          Plaintiffs’ motion to modify the Amended Pretrial Scheduling Order is GRANTED.

 2          The briefing schedule for the Motion to Supplement the Record is modified as follows:

 3          -   Notice of Motion and Motion to Supplement the Record due August 24, 2017

 4          -   Opposition to Motion to Supplement due September 28, 2017 (35 days later)

 5          -   Reply Brief due October 12, 2017 (14 days later)

 6          -   Hearing on the Motion to Supplement is set for October 19, 2017, at 2:00 p.m.

 7          IT IS FURTHER ORDERED THAT:

 8          The schedule for the Cross Motions for Summary Judgment will be as follows:

 9          -   Plaintiffs’ Motion for Summary Judgment and Memorandum is Support – due 45

10              days after the Court decides Plaintiffs’ Motion to Supplement;

11          -   Defendants’ Cross-Motion for Summary Judgment and Combined Memorandum in

12              Support and in Opposition to Plaintiffs’ Motion – due 45 days later;

13          -   Plaintiff’s Reply in Support of their Motion and Opposition to Defendants’ Cross-

14              Motion – due 30 days later;

15          -   Defendants’ Reply on their Motion – due 30 days later;

16          -   Hearing on Cross Motions – 45 days after completion of briefing.

17   Dated: August 17, 2017

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                                                            Troy L. Nunley
20                                                          United States District Judge

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     ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO MODIFY THE AMENDED PRETRIAL SCHEDULING ORDER
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